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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                    |
BUZZFEED INC.,                      |
                                    |
                Plaintiff,          |
                                    |
           v.                       |               Civil Action No. 18-CV-01556 (TSC)
                                    |
U.S. DEPARTMENT OF JUSTICE, et al., |
                                    |
                Defendants.         |
                                    |

         CONSENT MOTION FOR EXTENSION OF TIME TO FILE ANSWER

       Defendants U.S. Department of Justce (“DOJ”) and Federal Bureau of Prisons (“BOP”)

(collectively, “the Defendants”), by and through undersigned counsel, respectfully request an

extension of time, up to and including September 17, 2018, in which to file their Answer.

       In further support of this motion, Defendants state the following:

BACKGROUND

1.     Plaintiff Buzzfeed Inc. filed its Complaint (ECF No. 1) pursuant to the Freedom of

       Information Act (“FOIA”) on June 29, 2018. Defendants’ answer is currently due to be

       filed with the Court on August 15, 2018.

2.     Undersigned counsel was recently assigned to this case because the assigned AUSA will

       be on extended leave due to a family emergency.

3.     Undersigned counsel therefore requests an extension of time to become familiar with the

       case and to discuss the case with both agency counsel and Plaintiff’s counsel.

4.     Plaintiff’s counsel has graciously consented to the requested extension.
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       WHEREFORE, for the foregoing reasons, Defendants respectfully request that the Court

grant this Motion for Extension of Time to File Answer. A proposed Order consistent with this

request is attached herewith.

Dated: August 13, 2018              Respectfully submitted,

                                    JESSIE K. LIU, D.C. Bar No. 472845
                                    United States Attorney

                                    DANIEL F. VAN HORN, D.C. Bar No. 924092
                                    Chief, Civil Division

                                 By: /s/ Scott Leeson Sroka
                                    SCOTT LEESON SROKA, Member of New York Bar
                                    Assistant United States Attorney
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                                    Washington, D.C. 20530
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                              CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on this 13th day of August 2018, that service of the

foregoing Motion for Extension of Time has been made on counsel of record through the

Court’s ECF system.




                                           /s/ Scott Leeson Sroka
                                          SCOTT LEESON SROKA
                                          Assistant United States Attorney
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                    |
BUZZFEED INC.,                      |
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                Plaintiff,          |
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           v.                       |              Civil Action No. 18-CV-01556 (TSC)
                                    |
U.S. DEPARTMENT OF JUSTICE, et al., |
                                    |
                Defendants.         |
                                    |

                                          ORDER

       Upon consideration of the Defendants’ Motion for Extension of Time and the entire

record herein, it is hereby

       ORDERED that Defendants’ Motion is GRANTED.

       FURTHER ORDERED that the time for Defendants to file their Answer is hereby

extended up to and including September 17, 2018.




       It is SO ORDERED this           day of                        , 2018.




                                           TANYA S. CHUTKAN
                                           UNITED STATES DISTRICT COURT JUDGE
